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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


PATRICK NATHANIEL REED,
c/o 22 Philbrook Way
Woodlands, TX, 77382

                  Plaintiff,                               COMPLAINT
v.

BRANDEL EUGENE CHAMBLEE,
1800 E Cactus Rd, Unit 32
Scottsdale, AZ, 85259

And

TGC, LLC
d/b/a Golf Channel
1 Blachley Road
Stamford, CT, 06902

                  Defendants.

I.     INTRODUCTION

       Plaintiff PATRICK NATHANIEL REED (“Mr. Reed”) or (“Plaintiff”) brings this action

against Defendant BRANDEL EUGENE CHAMBLEE (“Chamblee”) and TGC, LLC d/b/a GOLF

CHANNEL (“Golf Channel”) acting in concert, jointly and severally, in this civil action for

general defamation, defamation per se, defamation by implication, as a result of Defendants’

causing actual damages, compensatory damages, and giving rise to punitive damages, including

continuing and aggravated harm to Mr. Reed’s professional, business and personal reputation and

livelihood. As grounds therefore, Mr. Reed alleges as follows:

II.    JURISDICTION AND VENUE

       1.      This Court has diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds $75,000.



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        2.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(3) in that this is a district in which

a substantial part of the events or omissions giving rise to Plaintiff’s claim occurred.

III.    PARTIES

        3.      Mr. Reed is an individual, natural person who is a citizen of the state of Texas.

        4.      Defendant Chamblee is an individual, natural person who is on information and

belief a citizen of the state of Arizona.

        5.      Golf Channel is a limited liability corporation incorporated under the laws of

Delaware and with its headquarters in the states of Connecticut and Florida.

IV.     STANDING

        6.      Mr. Reed has standing to bring this action because he has been directly affected and

victimized by the unlawful conduct complained herein. His injuries are proximately related to the

intentional and malicious conduct of Defendants, each and every one of them acting in concert

jointly and severally, as joint tortfeasors.

V.      FACTS

                                     BACKGROUND FACTS

        7.      Mr. Reed is a professional golfer who began his career after winning back-to-back

NCAA Championships at Augusta State University and started his professional career by

“Monday-qualifying” for PGA Tour events in 2012 with his then fiancé and now wife caddying

for him. The duo earned Mr. Reed a PGA Tour Card through qualifying school (q-school) for the

PGA Tour in 2012. Together, they won their first PGA tournament in their first season on the PGA

Tour at The Wyndham Championship in 2013 at Sedgefield Country Club. Patrick Reed was 23

years-old. Since his first win, Mr. Reed has gone on to win a total of 9 PGA Tournaments,

including his first major championship victory in 2018, at The Masters in Augusta, Georgia, at




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the age of 27. He became a dual member of the PGA Tour and the European Tour in 2015 and

successfully made it to each tour’s grand finale for the best players in the world, The Tour

Championship and the Race to Dubai. He is not only a Masters champion, but also a 9-Time PGA

Tour champion, and an 8-time United States Team member, an Honorary Lifetime Member of the

DP World Tour, and he has had an highly successful career, having just turned 32 years-old. He

was a voting member on the PGA Tour and consistently made it to the Tour Championship every

year since 2014 thru 2021. Mr. Reed has been the only American to play on both the DP World

Tour (European Tour) and the PGA Tour since 2015. Mr. Reed is a global professional golfer and,

to sum it all up, his 9 PGA Tour wins consist of: two World Golf Championships, two FedEx

Cup Play-Off Events, and a major championship at the 2018 Masters tournament. Mr. Reed is one

of the most successful and accomplished professional golfers in the world since beginning his

career at 22. He was ranked as high as six (6) in the Official World Golf Ranking as late as 2020

and has remained a top player in the world since earning his PGA Tour card in 2013 and has

proudly represented the United States worldwide on team events and individually since 2014.

       8.     And to put this all in perspective, Mr. Reed is the youngest World Golf Champion

ever, beating out Tiger Wood’s record of youngest World Golf Champion by 26 days. Mr. Reed

won his debut World Golf Championship event at Doral, Florida, at the age of 23. Last, but hardly

least, Mr. Reed is also the fourth American golfer to receive an honorary lifetime membership on

the European Tour; the previous three Americans were the late Arnold Palmer, Jack Nicklaus, and

Tom Watson. He also holds three PGA Tour records on Tour.

       9.     Mr. Reed has represented the United States of America eight (8) times in the Ryder

Cup, President’s Cup and the Olympic Games. In 2014 and 2016, Mr. Reed was the leading point

scorer for the American Ryder Cup team, which earned him the nickname “Captain America.”




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       10.     Despite his exceptional world class golfing achievements, in June of 2022, Mr.

Reed was constructively terminated as a member of the PGA Tour, as a result of threats made and

actions taken by it’s Commissioner Jay Monahan and his PGA Tour, and signed with LIV Golf.

       11.     To compound matters, both before and in furtherance of the threats made and

actions taken by the PGA Tour and it’s Commissioner Jay Monahan, to constructively terminate

Mr. Reed, Defendants Chamblee and NBC’s Golf Channel have conspired as joint tortfeasors for

and with the PGA Tour, it’s executives and it’s Commissioner Jay Monahan, to engage in a pattern

and practice of    defaming Mr. Reed, misreporting information with falsity and/or reckless

disregard of the truth, that is with actual and constitutional malice, purposely omitting pertinent

key material facts to mislead the public, and actively targeting Mr. Reed since he was 23 years old,

to destroy his reputation, create hate, and a hostile work environment for him, and with the

intention to discredit his name and accomplishments as a young, elite, world-class golfer, and the

good and caring person, husband and father of two children, he is. It is well-known on tour that

Mr. Reed has been abused and endured more than any other golfer from fans or spectators who

have been allowed to scream obscenities only to be glorified by NBC’s Golf Channel for doing so,

because it gets Defendants Chamblee and Golf Channel “clicks”, viewership, ratings and increased

revenue. For Defendants it does not matter how badly they destroy someone’s name and life, so

long as they rake in more dollars and profit.

       12.     These calculated, malicious, false and/or reckless attacks have had a direct effect

on Mr. Reed’s and his family’s livelihood and he has suffered major damages through the loss of

not just one, but multiple multi-million dollar sponsorship deals as a result of the continuous harm

that Brandel Chamblee and NBC’s Golf Channel’s have inflicted and continue to inflict upon Mr.

Reed with defamatory publications that are false and/or made with a reckless disregard for the




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truth. These meritless accusations and misreported information intentionally deceive the public for

corporate gain with no accountability to the public or Mr. Reed and his family. In joining LIV Golf

it is evident that Defendants, each and every one of them, conspiring with the PGA Tour and the

DP World Tour, as joint tortfeasors, continue to use the same and or similar tactics to defame

other LIV players, and LIV, with the intention to destroy them and their families professionally

and personally, and thus eliminate them as competitors to the PGA Tour and the DP World Tour.

       13.     In this regard, Defendant Chamblee, a former professional golfer, who fell far short

of ever rising to the accomplished level of Mr. Reed, and the current analyst for Golf Channel, has

become Golf Channel’s primary mouthpiece and agent to push this defamatory agenda and inflict

severe damage to Mr. Reed, LIV, and other golfers signed with LIV.

       14.     Golf Channel is firmly ensconced as the PGA Tour’s and the DP World Tour’s co-

conspiratorial agent to push its anticompetitive agenda and message to the public.

       15.     Defendants Chamblee and Golf Channel are acting in concert with and as agents

on behalf of the PGA Tour and DP World Tour, which views LIV as its primary competitor. Thus,

Defendants and the PGA Tour and the DP World Tour are defaming and smearing anyone

associated with LIV—including Mr. Reed, one of it’s most prominent athletes—in order to try to

maintain their monopolistic hold on professional golf, and therefore continue to substantially

profit, to the tune of an estimated $1.522 billion in revenue for the PGA Tour alone in 2022.1 Thus,

Defendants literally have billions of reasons to continue to maliciously defame Mr. Reed, LIV,

and other golfers signed with LIV, particularly since Golf Channel has highly lucrative contracts




1
  See Mike Purkey, The PGA Tour Is On a Spending Spree and We Know Who's Going to Get the
Bill, Sports Illustrated, Dec. 21, 2021, available at: https://www.si.com/golf/news/the-pga-tour-
is-on-a-spending-spree-and-we-know-whos-gonna-get-the-bill



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with the PGA Tour and DP World Tour and Defendants are fearful that another major network

will acquire the rights to broadcast and cover LIV tournaments and events and compete with Golf

Channel, drawing away advertising and substantial revenue.

       16.     As a result, Defendants, conspiring and acting in concert as joint tortfeasors to

defame Mr. Reed, have set out to destroy LIV along with it’s golf professionals, such as Mr. Reed,

by damaging them financially and in terms of their good will, reputation and standing in the golfing

community, professionally and personally, as well as their advancement through by competing in

major championships and world golf championships.2.

       17.     As a proximate result of the defamation set forth below and herein, Defendants,

acting in concert with the PGA Tour and the DP World Tour and their commissioners, have

maliciously caused a hostile workplace environment for Mr. Reed, spilling over to his family. This

hostile workplace, which has been made to occur in the tournaments and events which Mr. Reed

attends and participates in to earn a living for himself and his family, has been manifested, only in



2
  The Official World Golf Ranking board (“OWGR”), which in conjunction with Defendants has
conspired to restrain trade on behalf of the PGA Tour and DP World Tour, was put the question
in 2015 if the OWGR was biased, after three years of the PGA Tour and DP World Tour fighting
not to change the system. As a result, a new system was conjured up and rolled out the week of
August 14, 2022, by creating a world ranking system that depletes the amount of DP World Tour
points by 33 percent and Asian Tour Official World Ranking points awarded (OWGR) by 66%.
Yet the PGA Tour doesn’t even stand to lose one percent in the new OWGR system, making
itself the most powerful tour and thus weakening every other tour. Jay Monahan sits on the board
of the OWGR (which is a major conflict of interest) and has voting rights on decisions for
OWGR to award world ranking points. The LIV Golf Tour lacks the ability to award OWGR
points to their players. These OWGR points effectively determine which players qualify for
major and world golf championships, for those players not otherwise exempt. Thus, the PGA
Tour’s effective ability to earn and award OWGR points to it’s players would be significantly
impacted if LIV players received the points they should be awarded by a fair, unbiased panel.
Because if LIV players did receive the points they should earn for their strength of field, it would
reduce the PGA Tour’s and DP World Tour’s competitive advantage, monopoly power and
monopoly over professional golf.




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part, by induced personal attacks on him and his family by persons attending these tournaments

and events. These induced personal attacks have in turn harmed his performance at tournaments

and events, despite his excellent record, which record would be even much greater without the

disruption and emotional distress caused by these personal attacks.

       18.     These induced personal attacks include but are not limited to: “Now on the tee the

excavator!,” “You suck!,” “You f….. ing suck!,” “You jackass!,” “You coward!,” “Shovel!,” Why

don’t you dig a grave and bury yourself in it!,” “You piece of shit!,” “No one likes you!,” Everyone

hates you Reed!,” “Good luck digging yourself out of this one!,” “Where are your parents

coward?!,” “You cheater!,” “Cheat!,” “Everyone hates you cheater!,” “You’re going to miss this

you cheater!,” “You cheat in college and on tour and you’re a piece of shit!,” “Beat the cheater’s

ass!,” “Sorry Webb for having to play with the cheat! Who did you piss off?!,” “Why don’t you

introduce your children to their grandparents you ungrateful bitch?!” This is just a sampling of

what Defendants maliciously and intentionally caused and furthered with actual malice. These

personal attacks occur frequently while Mr. Reed is actively preparing to make his golf shot, or

during the golf shot, much less thereafter as he is walking to his next golf shot, as well as lining

up and making putts on the green, which putts require a high degree of concentration.

                          Facts Pertaining to LIV and its Competitors

       19.     LIV is a professional golf tour operating company which is financially backed by

the Public Investment Fund of Saudi Arabia (“PIF”). LIV has its principal place of business in

West Palm Beach, Florida, and is seeking to compete against the PGA Tour and DP World Tour

both domestically and abroad.




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         20.   LIV’s CEO, Greg Norman has publicly stated, “[w]e are not a political organization.

We are here to play golf, serve fans, grow the game, and give additional opportunities to players. I

also have seen firsthand the good that golf can do around the world, and Saudi Arabia is no different.”

         21.   In addition to LIV, the PIF invests in numerous corporations domestically and

worldwide, including but not limited to, Uber, Boeing, Facebook, Citigroup, Disney, Bank of

America, Capcom, Nexon, Electronic Arts, Take-Two Interactive, Activision Blizzard, and

Berkshire Hathaway.

         22.   The PIF also purchased Newcastle United F.C. on the English Premier League in

2021.

         23.   LIV held its inaugural professional golf tournament from June 9-11, 2022 at the

Centurion Club in Hertfordshire, England, as well as another tournament from June 30 - July 2,

2022 at Pumpkin Ridge Golf Club in Portland, Oregon, and a tournament at Trump National Golf

Club Bedminster on from July 29 -31, 2022. More tournaments are scheduled for 2022, 2023 and

beyond.

         24.   Clearly viewing LIV as a substantial threat, both the PGA Tour and the DP World

tour have taken adverse anti-competitive action against golfers who participated in LIV

tournaments.

         25.   For instance, on or around June 9, 2022, the PGA Tour announced the suspension

of seventeen (17) of its own professional golfers who participated in the LIV Golf’s inaugural

tournament.

         26.   On June 24, 2022, the DP World Tour, the PGA Tour’s joint venture partner,

announced that it was fining each of its own professional golfers who participated in the LIV’s

inaugural golf tournament in the amount of approximately $125,000 and banned them from the




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Scottish Open, Barbasol Championship, and the Barracuda Championship, with more sanctions to

follow for any other golfer who joins LIV in the future.

       27.     As a result of this anti-competitive and illegal conduct by the PGA Tour and DP

World Tour and their commissioners Monahan and Pelley, many professional golfers were

essentially forced into a choice between whether to play on the LIV Tour or on the PGA Tour an

DP World Tour.

       28.     For a litany of reasons—whether it be Mr. Reed’s constructive termination as result

of threats by the PGA Tour and it’s Commissioner Jay Monahan, dissatisfaction with the policies

of the PGA Tour and DP World Tour, financial benefit, as or even as simple as plain personal

preference—Mr. Reed, and many top professional golfers, including but not limited to, Phil

Mickelson, Brooks Koepka, Dustin Johnson, Bryson DeChambeau, Patrick Reed, Kevin Na, Charl

Schwartzel, Ian Poulter, Lee Westwood, and Sergio Garcia, to name just a few, have decided to

join LIV.

                           Facts Pertaining to Defendants’ Defamation

       29.     In retaliation for Mr. Reed’s decision to sign with LIV, Defendants Chamblee and

Golf Channel, conspiring and acting in concert with the PGA Tour, DP World Tour, and OWGR,

have engaged in a pattern and practice of maliciously defaming Mr. Reed, as well as LIV and other

golfers signed with LIV.

       30.     On information and belief, this pattern and practice of malicious defamation by the

Defendants has been done at the behest of, and at the direction of the PGA Tour and DP World

Tour, in order to try to eliminate LIV and its golfers as competitors so that the PGA Tour and Golf

Channel can continue to rake in billions of dollars in revenue.




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       31.     In a video published on June 14, 2022, Defendant Chamblee, at the direction of and

as an agent of Golf Channel and PGA Tour and DP World Tour, appeared in Travis Fulton’s

podcast where he published the following numerous malicious and defamatory statements of and

concerning Mr. Reed.3

       32.     First, Chamblee states, “ So if they’re aligning themselves with a tyrannical,

murderous leader… look if you if you look at who MBS is… centralizing power, committing

all these atrocities, you look at what he’s doing to the citizens of his… of his country ask

yourself I mean would you have played for Stalin would you have played for Hitler would

you have played for Mao would you play for Pol Pot,” [Froggy] “would you have played for

Putin?” [Chamblee in agreement] “would you have played for Putin… which… and this who

this guy is. He settles disputes with bonesaws.”

       33.     This statement is false, malicious, and defamatory on its face because it accuses

Mr. Reed of aligning himself with a “tyrannical, murderous (sportswashing) leader.” Chamblee

goes even further and states that Mr. Reed would have no problem playing golf for Stalin, Hitler,

Mao Zedong, Pol Pot, and Vladimir Putin. This statement is false because Mr. Reed never aligned

himself with a “tyrannical, murderous leader.” He is playing golf for LIV, which simply happens

to be financed by the PIF, which has invested in and financed some of the nation’s and the world’s

largest and respected corporations. See Comp. ¶ 14.

       34.     This would be akin to stating that LeBron James has aligned himself with a

“tyrannical, murderous leader” because he plays in the National Basketball Association (“NBA”)




3
 Brandel Chamblee Thoughts of the LIV Golf Tour, YouTube, Jun. 14, 2022, available at:
https://www.youtube.com/watch?v=xXxnqWJdWhI&t=339s

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which has intricate ties to the People’s Republic of China4, whose government is accused of a

current and ongoing genocide against the Muslim Uyghur people.5

       35.     Second, Chamblee states, “I think there’s a reason for that…they’re destroying

the professional game they were they been put in the Hall of Fame because of their

accomplishments and because of their legacy well they’ve tainted their legacy in an

irreparable way so I think both of them should be kicked out of the Hall of Fame I really

do…”

       36.     This statement is false, malicious, and defamatory because it states that Mr. Reed

is “destroying the professional game [of golf]” and that he has “tainted [his] legacy.in an

irreparable way….” Mr. Reed is not destroying the game of golf—he simply chose to play for

another league. Mr. Reed’s legacy is also not tainted simply because he chose to play for another

league. Professional athletes do this all the time. For instance, when Cristiano Ronaldo left Real

Madrid in Spain for Juventus in Italy, his legacy was not tarnished or diminished in any way.

       37.     This statement, as well as other published statements set forth in the Complaint, is

of and concerning Mr. Reed because it is clear to the objective listener that Chamblee is referring

to all golfers who had signed with LIV, including Mr. Reed.

       38.     Third, Chamblee states that Mr. Reed is “over there purely playing for blood

money.”



4
 Mark Rainaru-Wada, Steve Fainaru, ESPN analysis: NBA owners, mum on China relationship,
have more than $10 billion invested there, ESPN, May 19, 2022, available at:
https://abcnews.go.com/Sports/espn-analysis-nba-owners-mum-china-relationship-
10/story?id=84831238.
5
 Lorraine Boissoneault, Is China Committing Genocide Against the Uyghurs? Smithsonian Mag.
Feb. 2, 2022, available at: https://www.smithsonianmag.com/history/is-china-committing-
genocide-against-the-uyghurs-180979490/.


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       39.     Chamblee doubled down on and compounded this defamatory statement in a tweet

on or around June 26, 2022 saying, “…either way, whether the money is against or in addition

to guarantees its still blood money and you’re still complicit in sportswashing.” This tweet

may have since been deleted, but caused considerable damage nevertheless while it was on-line.

       40.     Chamblee and Golf Channel then tripled down and again compounded this same

defamatory message in an article written by Chamblee and published widely by Golf Channel

titled “Mickelson’s statements inaccurate and ironic: Obnoxious greed? Et tu, Phil?” where

Chamblee writes “[n]ow he has continued his subterfuge by saying the PGA Tour could end

any threat, presumably from the Saudi blood money funding a proposed Super Golf League,

by just handing back the media rights to the players.” This published statement applies to and

thus is of and concerning all LIV golfers, including Mr. Reed.

       41.     These related statements are false, malicious, and defamatory on their face, and

falsely stating that someone is playing for blood money is patently and plainly defamatory because

it creates the false implication that Mr. Reed is supporting acts of terrorism and/or human rights

violations. This is false. Mr. Reed is simply playing golf, and he is being paid to do so by LIV.

Mr. Reed has never accepted “blood money,” and in no way supports terrorism and/or human

rights violations, or murder.

       42.     Again, these statements were meant to apply to and are of and concerning Mr. Reed

because they apply to all golfers who have signed with LIV, including Mr. Reed.

       43.     Fourth, Chamblee repeats the defamatory message in the prior statements by stating

that Mr. Reed’s money is “coming from the wrong place” and that its “good [PGA Tour] versus

evil [Mr. Reed and LIV] …evil usually false. So, it will fail.”




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         44.   This statement is again false, malicious, and defamatory on its face, since it

reiterates the “blood money” aspect of Mr. Reed’s deal with LIV and furthers the completely false

implication that Mr. Reed has aligned with a “tyrannical, murderous leader,” as set forth above.

Chamblee takes this many steps further by calling Mr. Reed “evil,” simply for choosing to play

golf for a competing league, which is not only patently false, but completely malicious and

defamatory.

         45.   Next, in a broadcast on Sky Sports News on or around June 10, 2022, Chamblee

also made further false, malicious, and defamatory published statements of and concerning Mr.

Reed.6

         46.   First, Chamblee stated, “[t]his is one of the saddest days in the history of golf.

Watching these players come together for money and show to the world…they are showing

us that they are the greediest, most self-serving, self-interesting, willfully blind players in the

world of golf today.”

         47.   This statement is false, malicious, and defamatory because it accuses Mr. Reed, as

well as other golfers who chose to sign with LIV, of being greedy, self-serving, and willfully blind.

It creates the implication that Mr. Reed is greedy and solely driven by money and is willing to

sacrifice everything he stands for in order to make money.

         48.   This is completely and utterly false with regard to Mr. Reed, as the primary reason

that he chose to leave the PGA Tour was to be able to spend more time with his family and because

he felt the PGA Tour made a conscious decision to ignore player requests and suggestions over

the years, while lining the pockets of it’s leadership such as it’s Commissioner Jay Monahan.


6
 Jason Daniels, It makes me want to puke’ – Chamblee rips LIV Golf stars in scathing attack,
Golf WRX, Jun. 10, 2022, available at: https://www.golfwrx.com/678264/it-makes-me-want-to-
puke-chamblee-rips-liv-golf-stars-in-scathing-attack/


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       49.     Second, Chamblee states, “[s]o when I hear these players say that they are

‘growing the game’… it makes me want to puke. They’re destroying the game. And they are

destroying their reputations.”

       50.      Chamblee repeats and reiterates that defamatory message set forth above that Mr.

Reed is “destroying” the game of golf simply by choosing to go play in a competing league. This

creates the false impression that Mr. Reed and other golfers who signed to LIV do not care about

the game of golf and are driven solely by the desire to make money, and are therefore willing to

destroy the game of golf to do so. Perhaps ironically, it is Chamblee and Golf Channel, in concert

and at the direction of PGA Tour, who have shown that they only care about their financial “bottom

line,” in trying to destroy Mr. Reed, LIV, and other golfers signed with LIV.

       51.     Defendants Chamblee and Golf Channel’s motive with regard to defaming Mr.

Reed and other LIV golfers is to destroy the new league in its infancy to further its highly lucrative

broadcast contracts with the PGA Tour and DP World Tour.

       52.     Chamblee and Golf Channel have a long history of targeting Mr. Reed with their

defamatory attacks, one of the most prominent examples of which occurred in 2021 when

Chamblee falsely, and without any evidence, accused Mr. Reed of intentionally cheating at the

Farmers Insurance Open when Mr. Reed claimed embedded ball relief.

       53.     Despite the fact that Mr. Reed was cleared to take a free drop and was absolved of

any wrongdoing by PGA Tour officials, Chamblee publicly stated on Golf Channel “I either

messaged or talked to 15 to 20 current and past tour players, some of them Hall of Fame




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members, over the past 24 hours and not a single player is in defense of what Patrick Reed

did.”7

         54.   Chamblee stated that Mr. Reed “violated that [unwritten] code in so many ways

that even the rules officials themselves were sort of stammering as to how to address it.”

Thus, Chamblee accuses Mr. Reed of cheating and violating the code that golfers adhere to.

         55.   Chamblee even went so far as to defame and smear Mr. Reed’s morals and ethics

over this incident, stating “In the same way that there is a distinction between law and

morality, there is a mark distinction, in this case, between what he was legally allowed to do

and what he ethically appeared to be doing.”

         56.   Lastly, as is Chamblee’s go-to theme in maliciously defaming Mr. Reed, he again

accused Mr. Reed of destroying the game of golf, “Ask yourself this: if everybody in the field

were to conduct themselves around a golf ball in this manner, would it be good for the game

of golf? It would not be. It would call into question every single movement or drop that every

single player would be making. It would cause an uproar on the PGA Tour.” Mr. Reed won

the 2021 Farmer’s Insurance Open by a commanding 5 five shot victory at Torrey Pines, a Major

Championship Golf Course, but Chamblee refused to talk about Mr. Reeds great performance,

using the opportunity to defame him even more, on a larger platform, after winning at one of the

most iconic places in golf.

         57.   These statements are clearly malicious and defamatory because the matter simply

involved an interpretation of a rule, and the PGA Tour cleared Mr. Reed of any wrongdoing. To




7
  Ryan Crombie, Brandel Chamblee slaughters Patrick Reed over rules row, Bunkered, Feb. 1,
2021, available at: https://www.bunkered.co.uk/golf-news/brandel-chamblee-slaughters-patrick-
reed-over-rules-row

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falsely state that Mr. Reed lacks ethics or morals, and that he is destroying the game of golf over

this is clearly not only false, but completely and patently defamatory as well.

 Facts Pertaining to Defendants’ Continued Modus Operandi and Illegal Course of Conduct

       58.     Chamblee and the Golf Channel have indeed engaged in a longstanding pattern and

practice of maliciously defaming Mr. Reed, with a prominent example occurring in 2019 at the

Hero World Challenge, with going so far as to publicly state on Golf Channel that “to defend what

Patrick Reed did is defending cheating.”

       59.     In this same segment, Chamblee, appearing on the Golf Channel, also said:

       •       “The specter of having in their midst somebody who so flagrantly broke the
       rules; look, they made a deal with the devil when they put Patrick Reed on this
       team.”
       •      “They thought that whatever darkness he would bring to the team would be
       offset by his competitive fire. When was the last time a teammate stabbed
       everybody in the back as soon as the event was over? It was the last time there was
       a team event, and it was Patrick Reed.”
       •       “This was flagrant. No way, no camera angle you could look at. Anybody
       in the world of golf who watched this, it was repugnant video to anybody in the
       world of golf. … As far back as this game goes, at its inception, is that you do not
       improve your lie. It’s not a new rule. It’s been a long time, I don’t care what
       camera angle, he will have known he’s improving his lie.”
       •       “The fact that he thinks there is no intent. I think his ego is as big as Jupiter.
       Ego monsters are irritated by facts, but they’re not moved aside from them. They
       think their ignorance of the facts, or their version, of what happened is greater than
       the truth.”
       •      “This is going to follow him around like the video of Nixon saying ‘I’m not
       a crook.'”


       60.     However, what the tape of this matter showed was an unintentional error by Mr.

Reed, which the PGA Tour also believed to be the case as evidenced by the fact the Mr. Reed was

only assessed a two-stroke penalty and not disqualified from the tournament.




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       61.     In the same segment, Chamblee, appearing on the Golf Channel went even further

and knowingly and/or recklessly falsely alleged that Mr. Reed engaged in improper and dishonest

conduct in the past:

       •      “The echoes of his past which he hoped that the media members wouldn’t
       pen or use a keyboard, he just did with a wrecking ball. He did that. And his
       teammates going back to the University of Georgia. His coach going back to the
       University of Georgia. Augusta. They all talked about how they didn’t view him
       as a good teammate, and that he played loose and fast with the rules.”


       62.     This statement was clearly both false and malicious, as Chamblee and Golf Channel

had access to and knew of public sworn statements by Mr. Reed’s college coach, Josh Gregory,

and USA golf team coach, Chris Haack, from 2015 that they were completely unaware of even a

modicum of evidence that Mr. Reed had cheated.

       63.     This even forced Mr. Reed’s counsel at the time to issue a cease-and-desist letter to

Chamblee to warn him to stop maliciously defaming Mr. Reed—a message that Chamblee and his

conspirators at Golf Channel and the PGA Tour have clearly ignored to their peril.

       64.     As a direct and proximate result of Chamblee and Golf Channel’s bizarre fixation

on destroying Mr. Reed’s reputation by trying to fabricate the story that he is somehow a “cheater,”

Mr. Reed and his family have been subjected to a never-ending barrage of abuse at not only golf

tournaments, but even in their everyday lives. Mr. Reed’s children have even been tormented and

bullied due to the Defendants’ campaign to destroy his reputation, good will, and him financially

and personally.

       65.     This is because Chamblee and Golf Channel’s reach is enormous, and every time

Chamblee does one of his defamatory “hot takes” for attention, notoriety, and profit, it is

republished by many of the largest publications in the world.




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       66.     Indeed, even a quick Google search of Chamblee’s history of making defamatory

statements of and concerning Mr. Reed results in pages and pages of republications from some of

the largest names not only in sports—as just a few examples, Sports Illustrated, ESPN, Bleacher

Report—but also in traditional mainstream news media, such as The Washington Post, Reuters,

Newsweek, CNN, and Fox News. This is notwithstanding the fact that nearly every single golf-

centered website also republishes these statements, thereby collectively resulting in millions upon

millions of people who view Chamblee’s and Golf Channel’s false, malicious, and defamatory

statements each time that they are made.

       67.     It is clear what Chamblee on behalf of is co-conspirator Golf Channel is doing. He

has shown himself to be a disciple of the “Skip Bayless” school of sports analysis—the

fundamental tenet of which is that it is more important to be loud than it is to be correct. Chamblee

has followed this false “playbook” religiously, down to fabricating a feud with an athlete at the

top of their game—in Bayless’ case, LeBron James, and in Chamblee’s case, first Tiger Woods,

and then Mr. Reed—in order to leech attention, notoriety, and fame from those who were able to

achieve far more than he ever did as a golfer, which is probably the driving force behind his bitter

personal animus and bias leveled against Mr. Reed.

       68.     Chamblee’s modus operandi was shown as early as in 2013, when he also

outrageously accused Tiger Woods of cheating, without any basis in fact to do so.8 In a scathing

article in the Bleacher Report, Chamblee was eviscerated for his ego-driven, attention hungry

conduct by Woods’s agent:

       “With virtually no evidence except for what may be in his mind, Chamblee deserves
       his own "F" for calling Tiger a cheater.”

8
 Richard Leivenberg, Is Brandel Chamblee Labeling Tiger Woods a Cheater Fair or Foul?,
Bleacher Report, Oct. 19, 2013, available at: https://bleacherreport.com/articles/1817394-is-
brandel-chamblee-labeling-tiger-woods-a-cheater-fair-or-foul


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       “In an effort to raise his own profile, Chamblee has become strident and attacking,
       eschewing the basic principles of journalism. While singling out Tiger with his
       unfounded criticism and innuendo, Chamblee sounds like he is auditioning for an
       anchor position on Fox News.”

       “In a sophomoric display of ego, [Chamblee] compared Tiger’s fallibility to his
       own cheating experience while a fourth grader.”

       “Tiger's penalties came under a lot of scrutiny. But scrutiny is not the same as
       character assassination, and since he is Tiger Woods and not Joe Woods, he gets
       called the worst possible name you can call a golfer. Golf is a gentleman’s sport,
       and Chamblee—with his biased approach to Tiger—has shown he is no
       gentleman.”

       69.     Chamblee’s outrageous statements even precipitated threat of legal action from Mr.

Woods’ camp:

       There's nothing you can call a golfer worse than a cheater," Steinberg said. "This is
       the most deplorable thing I have seen. I'm not one for hyperbole, but this is
       absolutely disgusting. Calling him a cheater? I'll be shocked, stunned if something
       is not done about this. Something has to be done.

       "There are certainly things that just don't go without response. It's atrocious. I'm not
       sure if there isn't legal action to be taken. I have to give some thought to legal
       action."9

       70.     In a widely published statement on Twitter, following the denial of a motion for

temporary restraining order sought by LIV against the PGA Tour, on or about August 10, 2022,

Defendant Chamblee again viciously defamed Mr. Reed and other LIV golfers, stating : “Golf won

today. Murderers lost.” Consistent with his prior statements on Golf Channel and elsewhere,

Defendant Chamblee defamed Mr. Reed as a “murderer” simply because he now plays on the LIV

Golf Tour.




9
 Matt Yoder, Tiger Woods camp threatens lawsuit against Golf Channel’s Brandel Chamblee,
Awful Announcing, Oct. 22, 2013, available at: http://amp.awfulannouncing.com/2013/tiger-
woods-camp-threatens-lawsuit-against-golf-channel-s-brandel-chamblee.html


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       71.     On information and belief, based on all of the direct and circumstantial evidence,

during early to mid-August 2022, co-conspirators and joint tortfeasors Defendants Chamblee and

Golf Channel, in conjunction with the PGA Tour and DP World Tour and their leadership

including but not limited to Jay Monahan and Keith Pelley, have enlisted and directed PGA Tour

pros such as David Love III, Fred Couples, Billy Horschel, Joel Dahmen, Justin Thomas and a

host of others and elsewhere to smear and defame Mr. Reed and the other LIV golfers on Golf

Channel, falsely claiming that the recent law suit that LIV brought against the PGA Tour, which

is a non-profit 510 (c) (6) corporation, is a lawsuit and thus a personal lawsuit against all PGA

Tour players individually. In truth, the LIV antitrust suit was simply crafted to ensure free

competition between the PGA Tour and LIV, and was not against the PGA Tour players

themselves. This is simply false as not one PGA Tour pro has been sued, and Mr. Reed wishes

none of them any ill will, but instead wishes them well, and thus considers them his friends and

colleagues. This is an effort to pit golf against golfer, defame LIV players and to harm their

reputation, good will, livelihood and well- being with the golfing public and elsewhere in the

public domain. This paragraph will be supplemented as more evidence comes to light and is also

gathered in discovery.

       72.     The bottom line is that Chamblee and Golf Channel, acting in concert as co-

conspirators and joint tortfeasors as set forth above, have on numerous occasions crossed the line

of what is legitimate and acceptable criticism and analysis of Mr. Reed’ golfing ability and instead

made numerous false, malicious, and defamatory widely published and damaging statements of

and concerning Mr. Reed that are not intended to be golf analysis, but instead are targeted attacks

on Mr. Reed’s character and reputation related to his trade and profession and personally, causing

huge financial and emotional damage to him and his family. This malicious defamatory conduct




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must be compelled to stop, and Defendants, each and every one of them as co-conspirators and

joint tortfeasors, must be held to account for the irreparable harm and damage that has already

been done to Mr. Reed and his family.

VI.    CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION
                                          Defamation
                                      Defendant Chamblee

       73.     Plaintiff hereby realleges and reavers the factual allegations of the Complaint,

particularly paragraphs 26-71, which set forth the defamatory statements made by Defendants

Chamblee and Golf Channel.

       74.     Defendant Chamblee, acting together with Defendant Golf Channel and both of

them acting in concert, jointly and severally, and individually, have defamed Mr. Reed by

knowingly, intentionally, willfully, recklessly, grossly negligently, and/or negligently publishing

statements about the Plaintiff which they knew or should have known to be false and misleading.

       75.     Defendant Chamblee’s defamatory publications are not privileged in any way or

manner.

       76.     To establish general defamation, a plaintiff need only show that a person or entity

(1) published a false statement; (2) about another person; (3) to a third party; and (4) the falsity of

the statement caused injury to the other person.

       77.     The false, defamatory and misleading publications about Mr. Reed were widely

published and the falsity of the statements caused injury to Mr. Reed.

       78.     Defendant Chamblee knew or had reason to know that the publications were false

and misleading.




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        79.    These false, malicious, and defamatory statements have caused irreparable harm to

Mr. Reed, his reputation and his trade and profession as a professional golfer, and personally.

                                SECOND CAUSE OF ACTION
                                  Defamation by Implication
                                    Defendant Chamblee

        80.    Plaintiff hereby realleges and reavers the factual allegations of the Complaint,

particularly paragraphs 26-71, which set forth the defamatory statements made by Defendants

Chamblee and Golf Channel.

        81.    Defendant Chamblee, acting together with Defendant Golf Channel and both of

them acting in concert, jointly and severally, and individually, have defamed Mr. Reed by

knowingly, intentionally, willfully, recklessly, grossly negligently, and/or negligently publishing

statements about the Plaintiff which they knew or should have known to be false and misleading.

        82.    Defendant Chamblee’s defamatory publications are not privileged in any way or

manner.

        83.    Defamation by implication is an intentional tort recognized in Texas. “[A] plaintiff

can bring a claim for defamation when discrete facts, literally or substantially true, are published

in such a way that they create a substantially false and defamatory impression by omitting material

facts or juxtaposing facts in a misleading way. Turner v. KTRK Television, Inc., 38 S.W.3d 103,

115 (Tex. 2000).

        84.    Defendant Chamblee, acting together with Defendant Golf Channel and both of

them acting in concert, jointly and severally, and individually, published false statements about

Mr. Reed and these statements were defamatory in that they created a false impression of Mr.

Reed.




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       85.     Defendant Chamblee, acting together with Defendant Golf Channel and both of

them acting in concert, jointly and severally, and individually, juxtaposed a series of facts so as to

imply a defamatory connection between them or, in the alternative, created a defamatory

implication by omitting facts when describing the nature and sequence of events.

       86.     A reasonable person would understand Defendant Chamblee’s statements to impart

the false innuendo, which would be highly offensive to a reasonable person.

       87.     Defendant Chamblee, acting together with Defendant Golf Channel and both of

them acting in concert, jointly and severally, and individually, intended or endorsed the defamatory

inferences that the published statements created and these false, defamatory and misleading

statements were made with actual malice.

       88.     These false, malicious, and defamatory statements have caused irreparable harm to

Mr. Reed, his reputation and his trade and profession as a professional golfer, and personally,

                                  THIRD CAUSE OF ACTION
                                      Defamation Per Se
                                     Defendant Chamblee

       89.     Plaintiff hereby realleges and reavers the factual allegations of the Complaint,

particularly paragraphs 26-71, which set forth the defamatory statements made by Defendants

Chamblee and Golf Channel.

       90.     Defendant Chamblee, acting together with Defendant Golf Channel and both of

them acting in concert, jointly and severally, and individually, have defamed Mr. Reed by

knowingly, intentionally, willfully, recklessly, grossly negligently, and/or negligently publishing

statements about Mr. Reed which they knew or should have known to be false and misleading.

       91.     Defendant Chamblee’s defamatory publications are not privileged in any way or

manner.




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       92.     A statement is defamatory per se in Texas if, among other things, it imputes injury

to a plaintiff’s office, business, profession, or calling; imputes a plaintiff committed a crime;

imputes that a plaintiff possesses a loathsome disease; or imputes the plaintiff has engaged in

sexual misconduct. Downing v. Burns, 348 S.W.3d 415, 424 (Tex. App. 2011).

       93.     Texas defines defamation per se as words that “are so obviously harmful to the

person aggrieved, that no proof of their injurious effect is necessary to make them actionable.”

Alainz v. Hoyt, 105 S.W.3d 330, 345 (Tex. App. 2003).

       94.     The false, defamatory and misleading nature of Defendant Chamblee’s publications

subjected Plaintiff to ridicule, hatred, disgust and contempt.

       95.     The false, defamatory and misleading publications were made with actual malice.

       96.     Defendant Chamblee knew or had reason to know that the publications were false

and misleading.

       97.     These false, malicious, and defamatory statements have caused irreparable harm to

Mr. Reed, his reputation and his trade and profession as a professional golfer and personally.

                                FOURTH CAUSE OF ACTION
                                     Civil Conspiracy
                                    Defendant Chamblee

       98.     Plaintiff hereby realleges and reavers the factual allegations of the Complaint,

particularly paragraphs 26-71, which set forth the defamatory statements made by Defendants

Chamblee and Golf Channel.

       99.     Defendants acting together in concert, along with the PGA Tour, have agreed to

and in fact sought to eliminate Mr. Reed, LIV, and other golfers signed to LIV as competitors by

maliciously defaming them and smearing their reputations




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       100.    Defendants acting together in concert, along with the PGA Tour, had a meeting of

the minds on the plan to eliminate Mr. Reed, LIV, and other golfers signed to LIV as competitors

by maliciously defaming them and smearing their reputations.

       101.    Defendants acting together in concert, along with the PGA Tour have taken

numerous overt steps towards trying to eliminate Mr. Reed, LIV, and other golfers signed to LIV

as competitors by maliciously defaming them and smearing their reputations in golf, and

personally.

       102.    Mr. Reed has suffered severe damages as a direct and proximate result of this

conspiracy.

                                  FIFTH CAUSE OF ACTION
                                         Defamation
                                    Defendant Golf Channel

          103. Plaintiff hereby realleges and reavers the factual allegations of the Complaint,

particularly paragraphs 26-71, which set forth the defamatory statements made by Defendants

Chamblee and Golf Channel.

          104. Defendant Golf Channel, acting together with Defendant Chamblee both of them

acting in concert, jointly and severally, and individually, have defamed Mr. Reed by knowingly,

intentionally, willfully, recklessly, grossly negligently, and/or negligently publishing statements

about the Plaintiff which they knew or should have known to be false and misleading.

          105. Defendant Golf Channel’s defamatory publications are not privileged in any way

or manner.

          106. To establish general defamation, a plaintiff need only show that a person or entity

(1) published a false statement; (2) about another person; (3) to a third party; and (4) the falsity of

the statement caused injury to the other person.




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          107. The false, defamatory and misleading publications about Mr. Reed were widely

published and the falsity of the statements caused injury to Mr. Reed.

          108. Defendant Golf Channel knew or had reason to know that the publications were

false and misleading.

          109. These false, malicious, and defamatory statements have caused irreparable harm to

Mr. Reed, his reputation and his trade and profession as a professional golfer, and personally.

                                 SIXTH CAUSE OF ACTION
                                   Defamation by Implication
                                    Defendant Golf Channel

       110.    Plaintiff hereby realleges and reavers the factual allegations of the Complaint,

particularly paragraphs 26-71, which set forth the defamatory statements made by Defendants

Chamblee and Golf Channel.

       111.    Defendant Golf Channel, acting together with Defendant Chamblee and both of

them acting in concert, jointly and severally, and individually, have defamed Mr. Reed by

knowingly, intentionally, willfully, recklessly, grossly negligently, and/or negligently publishing

statements about the Plaintiff which they knew or should have known to be false and misleading.

       112.    Defendant Golf Channel’s defamatory publications are not privileged in any way

or manner.

       113.    Defamation by implication is an intentional tort recognized in Texas. “[A] plaintiff

can bring a claim for defamation when discrete facts, literally or substantially true, are published

in such a way that they create a substantially false and defamatory impression by omitting material

facts or juxtaposing facts in a misleading way. Turner v. KTRK Television, Inc., 38 S.W.3d 103,

115 (Tex. 2000).




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        114.   Defendant Golf Channel, acting together with Defendant Chamblee and both of

them acting in concert, jointly and severally, and individually, published false statements about

Mr. Reed and these statements were defamatory in that they created a false impression of Mr.

Reed.

        115.   Defendant Golf Channel, acting together with Defendant Chamblee and both of

them acting in concert, jointly and severally, and individually, juxtaposed a series of facts so as to

imply a defamatory connection between them or, in the alternative, created a defamatory

implication by omitting facts when describing the nature and sequence of events.

        116.   A reasonable person would understand Defendant Golf Channel’s statements to

impart the false innuendo, which would be highly offensive to a reasonable person.

        117.   Defendant Golf Channel, acting together with Defendant Chamblee and both of

them acting in concert, jointly and severally, and individually, intended or endorsed the defamatory

inferences that the published statements created and these false, defamatory and misleading

statements were made with actual malice.

        118.   These false, malicious, and defamatory statements have caused irreparable harm to

Mr. Reed, his reputation and his trade and profession as a professional golfer, and personally.

                                SEVENTH CAUSE OF ACTION
                                     Defamation Per Se
                                   Defendant Golf Channel

        119.   Plaintiff hereby realleges and reavers the factual allegations of the Complaint,

particularly paragraphs 26-71, which set forth the defamatory statements made by Defendants

Chamblee and Golf Channel.

        120.   Defendant Golf Channel,, acting together with Defendant Chamblee and both of

them acting in concert, jointly and severally, and individually, have defamed Mr. Reed by




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knowingly, intentionally, willfully, recklessly, grossly negligently, and/or negligently publishing

statements about Mr. Reed which they knew or should have known to be false and misleading.

       121.    Defendant Golf Channel’s defamatory publications are not privileged in any way

or manner.

       122.    A statement is defamatory per se in Texas if, among other things, it imputes injury

to a plaintiff’s office, business, profession, or calling; imputes a plaintiff committed a crime;

imputes that a plaintiff possesses a loathsome disease; or imputes the plaintiff has engaged in

sexual misconduct. Downing v. Burns, 348 S.W.3d 415, 424 (Tex. App. 2011).

       123.    Texas defines defamation per se as words that “are so obviously harmful to the

person aggrieved, that no proof of their injurious effect is necessary to make them actionable.”

Alainz v. Hoyt, 105 S.W.3d 330, 345 (Tex. App. 2003).

       124.    The false, defamatory and misleading nature of Defendant Golf Channel’s

publications subjected Plaintiff to ridicule, hatred, disgust and contempt.

       125.    The false, defamatory and misleading publications were made with actual malice.

       126.    Defendant Golf Channel knew or had reason to know that the publications were

false and misleading.

       127.    These false, malicious, and defamatory statements have caused irreparable harm to

Mr. Reed, his reputation and his trade and profession as a professional golfer, and personally.

                                EIGHTH CAUSE OF ACTION
                                      Civil Conspiracy
                                   Defendant Golf Channel

       128.    Plaintiff hereby realleges and reavers the factual allegations of the Complaint,

particularly paragraphs 26-71, which set forth the defamatory statements made by Defendants

Chamblee and Golf Channel.




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        129.    Defendants acting together in concert, along with the PGA Tour, have agreed to

and in fact sought to eliminate Mr. Reed, LIV, and other golfers signed to LIV as competitors by

maliciously defaming them and smearing their reputations

        130.    Defendants acting together in concert, along with the PGA Tour, had a meeting of

the minds on the plan to eliminate Mr. Reed, LIV, and other golfers signed to LIV as competitors

by maliciously defaming them and smearing their reputations.

        131.    Defendants acting together in concert, along with the PGA Tour have taken

numerous overt steps towards trying to eliminate Mr. Reed, LIV, and other golfers signed to LIV

as competitors by maliciously defaming them and smearing their reputations, and personally.

        132.    Mr. Reed has suffered severe damages as a direct and proximate result of this

conspiracy.

VII.    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment against each Defendant, jointly and

severally, as joint tortfeasors as follows:

        (a)     For general (non-economic), special (economic), actual and compensatory damages

in an amount to be determined by the jury in an amount in excess of $750,000,000.00 U.S. dollars,

as well as injunctive relief;

        (b)     For consequential damages in a sum reasonable to a jury;

        (c)     For punitive damages in an amount to be determined by the jury to punish and

impress upon Defendants the seriousness of their conduct and to deter similar conduct in the future;

        (d)     For attorneys’ fees, expenses and costs of this action, and;

        (e)     For such further relief as this Court deems necessary, just and proper.

                                DEMAND FOR TRIAL BY JURY




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           Plaintiff Patrick Nathaniel Reed demands a trial by jury on all counts as to all issues so

triable.

Dated: August 16, 2022                                         Respectfully submitted,

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                                                               Pro Hac Vice To Be Submitted

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                                                               COUNSEL FOR PLAINTIFF




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